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                            UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF MASSACHUSETTS


 CARBONITE, INC.,

            Plaintiff,                            Civil Action No. 18-12331
 v.


 DEEPAK MOHAN,

            Defendant.


                                         COMPLAINT

       This case involves Deepak Mohan, a former highly-compensated, senior executive for

Carbonite, Inc. (“Carbonite”), who, despite multiple reminders regarding his restrictive

covenants with Carbonite, accepted a position with a direct competitor, Veritas Technologies

LLC (“Veritas”) in violation of his Carbonite employment agreement. In his role at Carbonite,

Mohan was repeatedly and extensively exposed to Carbonite’s trade secrets and confidential

information and played an integral role in overseeing products and developing strategies for

Carbonite to compete in the marketplace. Mohan was also an integral member of the senior team

that reviewed and assessed Carbonite’s highly-confidential mergers and acquisitions strategy.

Given the extent of his exposure to this information at Carbonite and the fact that his new

employer is a direct competitor, Mohan’s work for Veritas constitutes an immediate threat to

Carbonite, because he cannot help but use the trade secret and confidential information that he

learned from his role with Carbonite to assist Veritas in unfairly competing against Carbonite.

                                            PARTIES

       1.      Carbonite, Inc., is a Delaware corporation with a principal place of business at 2

Ave de Lafayette, Boston, Massachusetts.
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       2.      Deepak Mohan is a natural person who, upon information and belief, is a citizen

of Heathrow, Florida.

                                 JURISDICTION AND VENUE

       3.      Subject matter jurisdiction exists pursuant to 28 U.S.C § 1332 in that there is

complete diversity of citizenship between the Plaintiff and the Defendant and the amount in

controversy exceeds $75,000, exclusive of interest.

       4.      Venue is proper, as Carbonite, Inc., has a principal place of business in

Massachusetts and the parties have an express agreement between them selecting the courts of

Massachusetts as the exclusive forum for disputes.

                                  FACTUAL BACKGROUND

                            MOHAN’S EMPLOYMENT WITH CARBONITE

       5.      Carbonite provides a robust Data Protection Platform for businesses, including

backup, disaster recovery, high availability, and workload migration technology. The Carbonite

Data Protection Platform supports global businesses with secure cloud infrastructure.

       6.      Mohan began his employment with Carbonite in February 2017 as Senior Vice

President, Products and Engineering. In this role, Mohan reported directly to Carbonite’s Chief

Executive Officer.

       7.      During his time at Carbonite, Mohan managed product management and

engineering functions globally and had direct responsibility for steering the business data

protection platform product strategy and execution.

       8.      Mohan’s engagement with Carbonite’s business strategy focusing on enterprise-

level customers was extensive: In just the past several months, an internal strategy team

comprised of some employees who reported directly to Mohan, focused exclusively on evolving




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business plans to serve new enterprise customers. Further, Mohan advised on the creation of an

internal, confidential cross-functional matrix outlining the requirements for Carbonite to

successfully serve its growing base of enterprise customers. This strategy group reported out to

Carbonite’s senior management at regular meetings.

         CARBONITE SAFEGUARDS ITS TRADE SECRETS AND CONFIDENTIAL INFORMATION

        9.       In order to fulfill the obligations of his role as Senior Vice President, Products and

Engineering, Mohan was given access to Carbonite’s trade secrets and other confidential

information concerning, among other things, information about previous, current and/or

contemplated products and services, know-how, techniques, computer software designs, and

hardware configurations, training materials, policies and procedures, and research products, sales

information and data, pricing, financial models, business plans, corporate strategy, financial and

business forecasts and estimates, account valuation and information about costs and profits, and

information about current and/or prospective customers of Carbonite (the “Confidential

Information”).

        10.      Mohan has intimate knowledge of Carbonite’s highly-confidential mergers and

acquisition (“M&A”) strategy: He was a key participant at Carbonite’s regular M&A strategy

meetings, developing and opining on potential targets, product and market fit analysis and

integration plans. Specifically, Mohan was involved in architecting M&A deals that are now in

motion, and—significantly—because of his work for Carbonite, he knows about deals that would

be of interest to Veritas.

        11.      Carbonite’s Confidential Information provides Carbonite with a significant

competitive advantage and, as a consequence, is safeguarded in several ways, including with

password protection and robust information security operations.




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       12.     In addition, Carbonite requires employees who will have access to its Confidential

Information to sign certain restrictive covenants as a prerequisite for employment.

       13.     On February 20, 2017, Mohan executed an “Acknowledgment of Codes, Policies

and Procedures,” referencing, inter alia, Carbonite’s Code of Business Conduct and Ethics.

       14.     According to Carbonite’s Code of Business Conduct and Ethics, which expressly

applies to “all officers, employees and directors of Carbonite,” Carbonite’s Confidential

Information is to be handled as follows:

       During and after engagement with or by the Company, Employees and directors
       of the Company shall safeguard all confidential information of the Company or
       third-parties with which the Company conducts business, except where disclosure
       of such confidential information is authorized by the Company or is legally
       mandated. Confidential information includes all non- public confidential and/or
       proprietary knowledge, data or information concerning the business, business
       relationships and financial affairs of the Company whether or not in writing and
       whether or not labeled or identified as confidential or proprietary and all similar
       information pertaining to third-parties with which the Company conducts
       business.

       15.     Carbonite has myriad additional internal policies concerning the protection of its

Confidential Information (including policies titled “Password Policy” and “Access Control

Policy”), and it regularly trains and reminds its employees of its policies in this regard.

                                MOHAN’S RESTRICTIVE COVENANTS

       16.     As a condition of his employment with Carbonite, and in consideration of, among

other things, receiving a compensation package totaling over one million dollars, Mohan signed

the Confidentiality, Invention Assignment and Non-Competition Agreement (the “Employment

Agreement”), a copy of which is attached hereto as Exhibit 1.

       17.     Among other things, Mohan agreed in § 1.2 of the Employment Agreement that

he would hold Carbonite’s Confidential Information in strict confidence and use it solely and




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exclusively to perform his job for the benefit of Carbonite and its current and prospective

customers.

       18.     In § 3.1 (b) of the Employment Agreement, Mohan agreed that he would not

solicit any of Carbonite’s existing or prospective clients, customers, or accounts.

       19.     In § 3.1 (c) of the Employment Agreement, Mohan agreed that, during his

employment and for a period of one year after the employment is terminated for any reason, he

would not “directly or indirectly . . . engage … in any business activity which competes with any

business then being conducted by Carbonite, or any business proposed to be conducted by

Carbonite at the time of the termination of your employment with Carbonite….”

       20.     In § 3.3 of the Employment Agreement, Mohan agreed that a breach of the above

obligations to Carbonite (among others) would cause substantial and irrevocable damage and

therefore, in the event of any such breach, in addition to other remedies which may be available,

Carbonite has the right to seek specific performance and injunctive relief.

                            MOHAN’S RESIGNATION FROM CARBONITE

       21.     On September 26, 2018, Mohan requested a one-on-one meeting with the Chief

Executive Officer of Carbonite (the “Carbonite CEO”). At this meeting, Mohan informed the

Carbonite CEO that he had recently received an offer letter from Veritas. The Carbonite CEO

made it clear to Mohan at this meeting that Veritas was a direct competitor to Carbonite and

therefore covered under the restrictive covenants contained in Mohan’s Employment Agreement.

       22.     On October 1, 2018, the Carbonite CEO met with Mohan again to discuss his

offer of employment with Veritas. The Carbonite CEO offered to allow Mohan to work for

Carbonite in California in order to address any personal needs to geographically relocate. This




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offer was reiterated in a meeting on October 4, 2018. At both meetings, the Carbonite CEO

again reminded Mohan that Veritas is a direct competitor to Carbonite.

       23.     On October 15, 2018, Mohan sent his resignation letter to the Carbonite CEO via

email. A copy of the resignation letter is attached hereto as Exhibit 2.

       24.     On October 26, 2018, during an exit interview with Carbonite, Mohan was again

reminded of his obligations under his Employment Agreement, and he executed a certification

stating that he would continue to comply with all of the terms of the Employment Agreement. A

copy of the Certification Upon Termination is attached hereto as Exhibit 3.

       25.     On October 26, 2018, Carbonite delivered a demand letter to Mohan explaining

that his work for Carbonite’s direct competitor, Veritas, would violate his Employment

Agreement. A copy of Carbonite’s October 26, 2018, letter is attached hereto as Exhibit 4.

       26.     On October 29, 2018, an attorney representing both Veritas and Mohan replied to

Carbonite’s demand letter with correspondence that admitted Mohan was going to start working

for Veritas, but generally denied that his employment there would constitute a violation of his

Employment Agreement. A copy of Mohan’s October 29, 2018 letter is attached hereto as

Exhibit 5.

                               MOHAN’S NEW ROLE WITH VERITAS

       27.     Veritas is a direct competitor to Carbonite, offering data protection solutions for

many of the same business customers targeted by Carbonite.

       28.     Upon information and belief, Mohan’s new position at Veritas, much like his

former role with Carbonite, will entail oversight of Veritas’ data protection platform, a directly

competitive suite of data protection solutions.




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        29.      Despite repeated warnings from the Carbonite CEO that accepting the role with

Veritas would be a violation of his obligation to Carbonite, Mohan accepted the role with Veritas

in breach of his obligations under Section 3.1(c) of his Employment Agreement.

                                        HARM TO CARBONITE

        30.      Carbonite will be harmed both irreparably and monetarily if Mohan works for

Veritas.

        31.      Due to Mohan’s extensive and repeated exposure to Carbonite’s trade secrets and

Confidential Information, and given the similarities between Mohan’s roles at Carbonite and

Veritas (two directly competing companies), Mohan cannot possibly avoid use of Carbonite’s

trade secrets and Confidential Information in his role at Veritas, thereby irreparably harming

Carbonite.

        32.      Given Mohan’s refusal to comply with his contractual, common law, and

statutory obligations, Carbonite commenced this action to protect its legitimate business

interests.

                                            COUNT I
                                       BREACH OF CONTRACT

        33.      Carbonite repeats and incorporates herein by reference the allegations set forth in

each of the foregoing paragraphs.

        34.      On February 20, 2017, Mohan entered into the Employment Agreement.

        35.      The Employment Agreement was supported by valid and sufficient consideration.

        36.      Pursuant to the Employment Agreement, Mohan agreed that he would hold

Carbonite’s Confidential Information in strict confidence and use it solely and exclusively to

perform his job for the benefit of Carbonite and its current and prospective customers.

Employment Agreement, § 1.2.



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         37.   Also pursuant to the Employment Agreement, Mohan agreed that, during his

employment and for a period of one year following his termination, he would not “directly or

indirectly . . . engage … in any business activity which competes with any business then being

conducted by Carbonite, or any business proposed to be conducted by Carbonite at the time of

the termination of your employment with Carbonite ….” Employment Agreement, § 3.1 (c).

         38.   The protection of Carbonite’s trade secrets and Confidential Information is a

legitimate business interest that may be protected by way of a restrictive covenant agreement.

         39.   The restrictions contained in the Employment Agreement are reasonably

necessary to protect Carbonite’s legitimate business interests.

         40.   By accepting employment with Veritas, a direct competitor of Carbonite, in a

similar role, during the restricted period, Mohan has breached the express terms of the

Employment Agreement.

         41.   Mohan’s competitive employment with Veritas jeopardizes Carbonite’s trade

secrets and Confidential Information.

         42.   Carbonite has reason to believe that Mohan will inevitably and imminently use or

disclose Carbonite’s trade secrets and Confidential Information in violation of his Employment

Agreement.

         43.   After being repeatedly reminded of his obligations by Carbonite, Mohan has

continued to violate his obligations under the Employment Agreement.

         44.   Mohan is, therefore, in breach of the Employment Agreement.

         45.   As a result of Mohan’s breach of contract, Carbonite has suffered and will

continue to suffer both irreparable harm and monetary damages in an amount to be determined at

trial.




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                                       COUNT II
           VIOLATION OF THE DEFEND TRADE SECRETS ACT OF 2016 (18 U.S.C. § 1836)

         46.   Carbonite repeats and incorporates herein by reference the allegations set forth in

each of the foregoing paragraphs.

         47.   In his position with Carbonite, Mohan had access to trade secrets and other

nonpublic Confidential Information that is of extraordinary value to Carbonite.

         48.   Carbonite expended significant amounts of time and money growing its base of

customers and developing its products, trade secrets, and Confidential Information, all of which

is highly valuable to Carbonite and to any other person or entity that renders the same or similar

services, such as Veritas.

         49.   Carbonite took reasonable efforts to preserve the confidentiality of this

information by, among other things, requiring Mohan to enter into the Confidentiality, Invention

Assignment and Non-Competition Agreement, which expressly imposes confidentiality

obligations.

         50.   Carbonite derives an economic advantage over its competitors as a result of its

trade secrets and Confidential Information.

         51.   Mohan has accepted a position with Veritas in violation of his Employment

Agreement.

         52.    Mohan’s position with Veritas is one in which it is not possible for Mohan not to

make use of the trade secrets and Confidential Information that he learned from his role at

Carbonite.

         53.   As a result of Mohan’s misappropriation, Carbonite has suffered, and will

continue to suffer, both irreparable harm and monetary damages in an amount to be proven at

trial.



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                                         JURY DEMAND

         Carbonite hereby demands a trial by jury on all claims and issues so triable.

                                      PRAYER FOR RELIEF

         WHEREFORE, for the reasons set forth above, Carbonite respectfully requests that this
Court:

         A.     Grant temporary, preliminary, and permanent injunctive relief enjoining Mohan

from working for Veritas or otherwise violating his Employment Agreement;

         B.     Grant temporary, preliminary, and permanent injunctive relief enjoining Mohan

from using or disclosing Carbonite’s trade secrets and other Confidential Information, including,

without limitation, its information about previous, current and/or contemplated products and

services, know-how, techniques, computer software designs, and hardware configurations,

training materials, policies and procedures, and research products, sales information and data,

pricing, financial models, business plans, corporate strategy, financial and business forecasts and

estimates, account valuation and information about costs and profits, and information about

current and/or prospective customers of Carbonite;

         C.     Enter judgement for Carbonite on all Counts in this Complaint, and award

damages to Carbonite in an amount to be determined at trial, together with interest and costs; and

         D.     Award all other relief this Court determines is appropriate.




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                                     Respectfully submitted,

                                     CARBONITE, INC.

                                     By its attorneys,

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